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 Receiver for Roger S. Bliss, et al.


                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 SECURITIES AND EXCHANGE                                THIRD APPLICATION FOR
 COMMISSION,                                          INTERIM COMPENSATION OF
                                                     RECEIVER AND PROFESSIONALS
         Plaintiff,

 vs.                                                       Case No. 2:15-cv-00098-RJS
 ROGER S. BLISS, et al.,
                                                              Judge Robert J. Shelby
         Defendants.


         Tammy B. Georgelas, the Court-appointed receiver (the “Receiver”) for Roger S. Bliss

(“Mr. Bliss”), Roger S. Bliss d/b/a Roger Bliss and Associates Equities, LLC, Roger Bliss and

Associates Club LLC, and Bliss Club LLC, respectfully submits this Third Application for

Interim Compensation of Receiver and Professionals (the “Third Fee Application”), seeking

approval and an order by the Court for fees and expenses incurred by the Receiver, her attorneys,

and her accountant Lone Peak Valuation Group (“Lone Peak”) for the period of October 1, 2016

through December 31, 2016 (the “Application Period”). Pursuant to the Billing Instructions for

Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

“SEC Billing Instructions”), the Receiver has already submitted this Fee Application to the

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Securities and Exchange Commission (the “SEC”), along with all supporting invoices. The SEC

reviewed the same, provided comments, and indicated it had no comments or objection to the

Fee Application. The Receiver now requests that she be authorized to pay all approved fees and

costs from the unencumbered funds in the Receivership Estate’s bank account. In support of the

Third Fee Application, the Receiver states as follows:

                                            INTRODUCTION

         1.          On June 10, 2015, the Court entered an order appointing Tammy B. Georgelas as

the Receiver for Roger S. Bliss, Roger S. Bliss d/b/a Roger Bliss and Associates Equities, LLC,

Roger Bliss and Associates Club LLC, and Bliss Club LLC (collectively, the “Receivership

Defendants”). See Order Appointing Receiver and Staying Litigation (the “Order Appointing

Receiver”). [Dkt. No. 39].

         2.          The Court found that the appointment of a receiver was necessary and appropriate

in this action for the purposes of marshaling and preserving all assets of the Receivership

Defendants as well as the assets of any other entities or individuals that: (a) are attributable to

funds derived from investor or clients of the Defendants; (b) are held in constructive trust for the

Defendants; (c) were fraudulently transferred by the Defendants; and/or (d) may otherwise be

includable as assets of the estates of the Defendants (collectively, the “Recoverable Assets”). Id.

at 1.

         3.          On July 6, 2015 the Court entered an order approving of the employment of the

Receiver’s attorneys, which was effective as of the date of the Receiver’s appointment. See

Order Authorizing Engagement of Attorneys. [Dkt. No. 48.]




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         4.          In accordance with the Order Appointing Receiver, the Receiver has engaged and

employed persons in her discretion to assist her in carrying out her duties and responsibilities,

including but not limited to attorneys, auctioneers, appraisers, real estate agents, construction

experts, and accountants (the “Receivership Team”).

         5.          On March 17, 2016 the Court entered an order approving of the employment of

the Receiver’s accountants. See Order Granting Motion to Employ Accountants. [Dkt. No.

122].

         6.          Prior to her appointment, the Receiver met with the SEC to discuss this matter

and the scope of work anticipated. Sensitive to the main purposes of a receivership, which are to

wind down the estate and return the largest amount of funds to victims, the Receiver agreed to

perform work at a discounted rate up to a total expense of $250,000. Should she need to incur

additional fees and expenses thereafter, the Receiver agreed that such work would be performed

at a reduced rate of 50%, not to exceed an additional $125,000. The Receiver agreed that any

work performed beyond the $375,000 would be at no cost to the estate. Thus, the cost to the

estate for the Receiver and her counsel would be no more than $375,000.

         7.          To help meet this arrangement, the Receiver agreed to reduce her rate to

$270/hour and Parsons Behle & Latimer agreed to discount its customary rates as follows: (a) a

blended rate for paralegals and associates of $210 per hour; and (b) hourly rates of between $240

and $380 for shareholders.

         8.          Below is a table providing the Fee Schedule of the Receiver’s professionals and

paraprofessionals who worked on this matter during the Application Period.




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                             Timekeeper                   Rate
                             J. Thomas Beckett             $ 380.00
                             Jacqueline H. Pope            $ 165.00
                             Jeffrey C. Corey              $ 285.00
                             John L. Cooper                $ 210.00
                             Matthew D. Cook               $ 260.00
                             Nicholas N. Bernard          $ 210.00
                             Tammy B. Georgelas            $ 270.00

         9.          When the Receiver first met with the SEC, the information available at the time

indicated that the Defendants had losses of approximately $3,300,000, owed to about 40

investors, and that Mr. Bliss would cooperate in the administration of the Receivership Estate.

         10.         Since the appointment of the Receiver, and after a thorough investigation by the

SEC and the Receivership Team, it is now known that losses actually exceed $21,000,000,

affecting over 150 investors, and that Mr. Bliss was not cooperative in, and indeed actively

thwarted, the administration of the estate.1

         11.         Although the complexity and sheer size of this case has changed dramatically in

the past year, the Receiver and her team remain committed to their agreement with the SEC and

the Court to cap their fees at $375,000.

         12.         On May 5, 2016 the Receiver filed the First Application for Interim

Compensation of Receiver and Professionals (the “First Fee Application”), requesting fees and

costs for the Receiver’s Team in the amount of $275,679.81 for work performed from June 1,

2015 to February 29, 2016. [Dkt. No. 142].




 1
   As the Court is aware, Mr. Bliss was sentenced to a year in federal prison for perjury after lying to
 the Receiver and the Court about his assets.
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         13.         On May 9, 2016 the Court approved the requested fees and costs. See Order

Granting Receiver’s First Application for Interim Compensation of Receiver and Professionals.

[Dkt. No. 144].

         14.         The Receiver paid the approved fees and costs from the Receivership Estate’s

bank account on May 10, 2016.

         15.         Due to the sensitive nature of the work performed by the Receivership Team, the

Receiver requested permission from the Court to submit their detailed invoices in camera. The

Court granted her request, and entered the Order Granting Motion to File All Future Fee

Application Invoices in camera. [Dkt. No. 174.]

         16.         On October 27, 2016 the Receiver filed the Second Application for Interim

Compensation of Receiver and Professionals (the “Second Fee Application”), requesting fees

and costs for the Receiver’s Team in the amount of $94,854.22 for work performed from March

1, 2016 to September 30, 2016. [Dkt. No. 175].

         17.         On October 31, 2016 the Court approved the requested fees and costs. [Dkt. No.

177].

         18.         The Receiver paid the approved fees and costs from the Receivership Estate’s

bank account on November 2, 2016.

         19.         To date, the Receiver and her attorneys have been paid $360,529.70 in fees and

$10,004.33 in costs.

         20.         The First Fee Application did not include a request for reimbursement for Lone

Peak because the SEC, not the estate, bore the cost of the first $80,000 worth of work performed

by the accountant.

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         21.         As set forth in the Receiver’s Motion to Employ Accountants, Lone Peak agreed

to perform work in this matter at a discounted rate of 17%. The fee schedule for Lone Peak’s

employees is set forth below.

                             Timekeeper                   Rate
                             Jeffrey Pickett              $ 220.00
                             Brooke Karrington            $ 150.00
                             Melanie Quintana             $ 120.00
                             Tia Donohoe                  $ 120.00
                             Krystina McLain              $ 120.00
                             Wayne Klein                  $ 150.00
                             Jeff Decker                  $ 150.00


         22.         The detailed invoices comply with the requirements of the SEC Billing

Instructions, and as explained above the Receiver has already submitted them to the SEC, which

did not object to the time spent in this matter. Summaries of the services provided during the

Application Period are provided below.

                                             CASE STATUS

A.       Unencumbered Funds

         1.          The Estate currently holds liquid assets of $2,588,591.88 from which all general

operating and administrative expenses of the estate are paid (the “General Operating Account”).

A Standardized Fund Accounting Report for the Application Period is attached as Exhibit A.

         2.          The funds on deposit have been obtained through marshalling Defendants’ bank

accounts, selling personal and real property, and negotiating the return of funds from Net

Winners.




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         3.          Because the Receiver has sold substantially all of the real and personal property

of the Estate, administrative expenses such as utility bills and appraisal fees have been reduced

significantly.

         4.          On October 6, 2016, the Court approved the Plan for Claims Administration, Loss

Allocation, and Distribution (the “Plan”) and set the Claims Bar date for November 14, 2016.

[Dkt. No. 166.] The Receiver will make the initial and subsequent distributions from the

unencumbered funds to victims in accordance with the Plan.

B.       Case Administration

         1.          The Court is aware of the intricacies of this case via the Receiver’s status reports,

notices of failure to comply with court orders, and the Court’s own involvement in contempt

hearings. The Receiver’s reports and notices provide detailed information outlining steps she has

taken in administering the estate. In the interest of saving time and expense to the estate, the

Receiver refers back to those documents and provides below a summary of the work she has

performed as required by the SEC Billing Instructions. See Notice of Apparent Failure of Roger

S. Bliss to Comply With Court Order [Dkt. No. 57], Notice of Supplemental Notice of Apparent

Failure of Roger S. Bliss to Comply with Court Order [Dkt. No 82], Preliminary Liquidation

Plan and Status Report [Dkt. 90]; Quarterly Status Report [Dkt. 120], Third Quarterly Status

Report [Dkt. No. 147], and Fourth Quarterly Status Report [Dkt. No. 172].

C.       Assets and Disposition Thereof

         1.          Soon after her appointment, the Receiver seized approximately $795,000 from

Mr. Bliss’s personal bank account, which he had used to run his investment scheme. Those

funds were deposited into the General Operating Account.


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         2.          The Receiver has now marshalled and sold all personal property that has been

acknowledged by the Receivership Defendants and related third parties.               Sale of personal

property has provided a net profit to the estate of approximately $475,000.

         3.          The Receiver has also marshalled and sold all real property of the estate. Sale of

real property has provided a net profit to the estate of $1,382,315.49.

D.       Liquidated and Unliquidated Claims

         1.          After carefully considering the costs and benefits of third party actions, the

Receiver filed lawsuits against 43 Net Winners, including insiders, in June 2016 to return funds

that could total several million dollars to the Receivership Estate.

         2.          Since that time, she has resolved 27 of the lawsuits, resulting in payments to the

Receivership Estate totaling $322,340.36 plus future monthly payments of approximately

$5,000/month with one Net Winner through November 2017.

         3.          The Receiver is currently working with several Net Winners to resolve the

Receivership Estate’s claims against them, and anticipates that active litigation will not be

necessary to obtain reasonable payments from the Net Winners in those lawsuits.

         4.          Twelve Net Winners have obtained legal counsel to represent them.             The

Receiver’s Team has completed a Ponzi Analysis that the Receiver believes will assist in

resolution of several of the lawsuits and additional payments to the Receivership Estate. The

parties have agreed to toll discovery pending receipt of the analysis and discussions thereafter.

         5.          The Receiver has successfully negotiated an agreement with the Church of Jesus

Christ of Latter Day Saints to disgorge donations made by Roger Bliss totaling approximately




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$178,000. The Receiver anticipates payment in accordance with the agreement in the near

future.

E.        Summary of Claims Proceedings

          1.         On October 11, 2016, the Court entered the Receiver’s Plan for Claims

Administration, Loss Allocation, and Distribution and Set the Claims Bar Date for November 14,

2016. [Dkt. No. 170].

          2.         The following week, in accordance with the Plan, the Receiver mailed official

Claim Forms to approximately 140 investors for whom she has valid postal addresses. These

forms contained the Receiver’s opinion about the Invested Amount and the Recovered Amount

for each Investor’s Claim.

          3.         The Receiver also provided notice to unknown claimants regarding the approval

of the Plan and the Claims Bar Date in Intermountain Commercial Record and Salt Lake Times,

a publication of general circulation in Salt Lake County, Utah; the Davis County Clipper, a

publication of general circulation in Davis County, Utah; and The News-Examiner, a publication

of general circulation in Bear Lake County, Idaho.

          4.         Nearly all Claim Forms were timely returned by November 14, 2016.

          5.         The vast majority of the Claim Forms submitted agreed with the accounting

provided by the Receivership Team.

          6.         The Receiver and her team have worked diligently with the investors to resolve

outstanding issues and obtain all necessary documentation.

          7.         This process resulted in the Receiver sending just two Claim Determination

Notices, informing the investor of a disputed claim in accordance with the Plan.

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         8.          The Court has issued a Notice of Claims Resolution Hearing for February 8, 2017

at 1:30 p.m. to hear oral argument and make a final disposition of the disputed claims.

               REQUEST FOR COURT APPROVAL OF FEES AND EXPENSES

A.       The Receiver and Her Attorneys

         The Receiver represents that: (i) the fees and expenses included therein were incurred in

the best interests of the Receivership Estate; and, (ii) with the exception of the Billing

Instructions, the Receiver has not entered into any agreement, written or oral, express or implied,

with any person or entity concerning the amount of compensation paid or to be paid from the

Receivership Estate, or any sharing thereof.

         The Receiver respectfully requests that the Court enter an order approving the fees and

costs incurred by the Receiver and her attorneys on an interim basis, and authorizing payment

from the Receivership Estate. The fees incurred by the Receiver and her attorneys, categorized

by task, are as follows:

                                               Receiver       Parsons, Behle &
                                                                       Latimer
      Task                                                                          Total Hours

      Asset Analysis and                             4.3                    1.8              6.1
      Recovery
      Asset Disposition                              2.0                    3.1              5.1
      Case Administration                           22.5                    0.8             23.3
      Claims Administration                        165.5                    7.1            172.6
      and Objections
      Ancillary Litigation                          45.2                    3.3             48.5

      Total Hours                                239.50                   16.10           255.60
      Total Fees                             $64,665.00               $4,707.50




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         An itemization of the work performed by individual is set forth below. This breakdown

is supported by the detailed invoices already provided to the SEC and submitted directly to the

Court in camera as Exhibit B.

      Timekeeper                              Hours                Rate             Total
      J. Thomas Beckett                          6.0       $   380.00         $ 2,280.00
      Jacqueline H. Pope                         1.8       $   165.00           $ 297.00
      Jeffrey C. Corey                           3.3       $   285.00           $ 940.00
      John L. Cooper                             .80       $   210.00           $ 168.00
      Matthew D. Cook                            2.8       $   260.00           $ 728.00
      Nicholas N. Bernard                        1.4       $   210.00           $ 294.00
      Tammy B. Georgelas                       239.5       $   270.00        $ 64,665.00

      Total                                   255.60                           $ 69,372.50

         In addition, costs in the amount of $1,594.22 have been incurred by the Receiver and her

attorneys for expenses such as filing fees, photocopies, postage, and publication fees.

         The total amount of fees and costs incurred by the Receiver and her attorneys during this

Application Period is $70,966.72.

         In accordance with the agreement entered into between the Receiver and the SEC, the

Receiver seeks approval for fees and costs in the total amount of $16,064.52, calculated as

follows:

         [$375,000.00 - $360,529.70 = $14,470.30] + $1,594.22 = $16,064.52

B.       The Receiver’s Accountant—Lone Peak Valuation Group

         The Receiver further respectfully requests that the Court enter an order approving the

fees and costs incurred by Lone Peak in the amount of $21,976.38 on an interim basis, and

authorizing payment from the Receivership Estate. An itemization of the work performed by



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individual is set forth below. This breakdown is supported by the detailed invoices already

provided to the SEC and submitted directly to the Court in camera as Exhibit C.



      Timekeeper                              Hours                  Rate             Total
       Jeffrey Pickett                         43.8             $   220.00       $9,636.00
       Brooke Karrington                       24.7             $   150.00       $3,705.00
       Melanie Quintana                        46.8             $   120.00       $5,616.00
       Tia Donohoe                              0.3             $   120.00          $36.00
       Krystina McLain                          9.9             $   120.00       $1,188.00
       Wayne Klein                             10.7             $   150.00       $1,605.00
       Jeff Decker                              1.1             $   150.00         $165.00
       Postage                                                                       $25.38
      Total                                                                      $21,976.38


                                         CONCLUSION

         The Receiver respectfully requests that the Court grant this Third Application for Interim

Compensation of Receiver and Professionals for Services Rendered October 1, 2016 through

December 31, 2016 and that the Court enter an Order approving all fees and costs herein

contained. A certification in compliance with the SEC Billing Instructions is attached as Exhibit

D.

         RESPECTFULLY SUBMITTED this 14th day of February, 2017.

                                                   PARSONS BEHLE & LATIMER


                                                   /s/ Tammy B. Georgelas
                                                   Tammy B. Georgelas

                                                   Receiver for Roger S. Bliss, et al.




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of February, 2017, I caused the foregoing THIRD
 APPLICATION FOR INTERIM COMPENSATION OF RECEIVER AND
 PROFESSIONALS to be electronically filed with the Clerk of Court using the CM/ECF
 system, which sent notification of such filing to the attorneys below:


                    Neil A. Kaplan     nak@clydesnow.com, mcarter@clydesnow.com

                    J. Thomas Beckett      ecf@parsonsbehle.com

                    Paul N. Feindt     feindtp@sec.gov

                    Cheryl M. Mori      moric@sec.gov

                    Amy J. Oliver      olivera@sec.gov, #slro-docket@sec.gov

                    D. Loren Washburn loren@washburnlawgroup.com,
                     mhernandez@smithcorrell.com

                    Daniel J. Wadley      wadleyd@sec.gov, #SLRO-Docket@sec.gov

                    Matthew D. Cook       ecf@parsonsbehle.com, mcook@parsonsbehle.com

                    Platte Seth Nielson    pnielson@klmrlaw.com


                                                                   /s/ Tammy B. Georgelas




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         Exhibit A—Standardized Fund Accounting Reports

         Exhibit B—Detailed Invoices for Parsons, Behle & Latimer Submitted to the Court in
         camera

         Exhibit C— Detailed Invoices for Lone Peak Valuation Group Submitted to the Court in
         camera

         Exhibit D—Certification




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                                   Exhibit A

                      Standardized Fund Accounting Reports




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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period October 1, 2016 to December 31, 2016

                                                                                   October 1, 2016
                                                                                      through
                                                                                   December 31,        Receivership
                                                                                        2016           Cumulative
            Beginning Balance:                                                    $ 1,997,362.68     $           ‐

            Cash Receipts
                Business Income                                                               ‐                 ‐
                Cash and Securities                                                           ‐          898,934.42
                Interest/Dividend Income                                                      ‐                 ‐
                Business Asset Liquidation                                                    ‐                 ‐
                Personal Asset Liquidation                                             608,521.98      1,860,071.34
                Third‐Party Litigation Income                                                 ‐                 ‐
                Net Winner Settlements                                                 111,590.36        322,340.36
                Miscellaneous ‐ Other                                                         ‐               77.08
            Total Cash Receipts                                                        720,112.34      3,081,423.20

            Cash Disbursements
                Disbursements to Investors
                Disbursements for Receivership Operations
                Disbursements to Receiver or Other Professionals                       127,905.33        403,585.14
                Business Asset Expenses                                                                       37.55
                Personal Asset Expenses                                                    584.81         74,815.63
                Investment Expenses                                                                             ‐
                Third‐Party Litigation Expenses                                                                 ‐
                   1. Attorney Fees                                                                             ‐
                   2. Litigation Expenses                                                  393.00         14,393.00
                Tax Administrator Fees and Bonds
                Federal and State Tax Payments
                Disbursements for Distribution Expenses Paid by the Fund:
                   Distribution Plan Development Expenses:
                   1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses:
                   3. Miscellaneous
                   Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator
                         IDC
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan
                         Claimant Identification
                         Claims Processing
                         Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                Disbursements to Court/Other:
                   Investment Expenses/Court Registry Investment System
                (CRIS) fees
                   Federal Tax Payments
            Total Disbursements                                                        128,883.14        492,831.32
            Ending Cash Balance                                                      2,588,591.88      2,588,591.88

                 Ending Balance of Fund ‐ Net Assets:
                 Bank Statement Balance                                                                2,588,591.88
                   Unposted Deposits                                                                            ‐
                   Uncleared Funds                                                                              ‐
                 Total Ending Balance of Fund ‐ Net Assets (Check register)                            2,588,591.88
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                                           Exhibit B

         Detailed Invoices for Parsons, Behle & Latimer Submitted to the Court in camera




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                                           Exhibit C

        Detailed Invoices for Lone Peak Valuation Group Submitted to the Court in camera




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                                    Exhibit D

                                   Certification




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                                           CERTIFICATION



        I, Tammy B. Georgelas, the Court-appointed Receiver in Securities and Exchange

Commission v. Roger S. Bliss. et al, Civil Action No. 2:15-ev-00098-RJS, and hereby certify that:


       (a)         I have read the Application;

       (b)         To the best of the Applicant's knowledge, intbrmation and belief formed after
                   reasonable inquiry, the Application and all fees and expenses therein are true and
                   accurate and comply with the Billing Instructions;

       (c)         All fees contained in the Application are based on the rates listed in the Applicant's
                   fee schedule attached hereto and such fees are reasonable, necessary and
                   commensurate with the skill and experience required for the activity performed;

       (d)         I have not included in the amount for which reimbursement is sought the
                   amortization of the cost of any investment, equipment, or capital outlay (except to
                   the extent that any such amortization is included within the permitted allowable
                   amounts set forth herein for photocopies and facsimile transmission);

       (e)         In seeking reimbursement for a service which the Applicant justifiably purchased
                   or contracted for from a third party (such as copying,imaging, bulk mail, messenger
                   service, overnight courier, computerized research, or title and lien searches), the
                   Applicant requests reimbursement only for the amount billed to the Applicant by
                   the third-party vendor and paid by the Applicant to such vendor. If such services
                   are performed by the Receiver, the Receiver will certify it is not making a profit on
                   such reimbursable service; and

        (1)        With respect to any charges for litigation, I have determined that the litigation is
                   likely to produce a net economic benefit to the estate, based on reviews of: (i) the
                   legal theories upon which the action was based, including issues of standing; (ii)
                   the likelihood of collection on any judgment which might be obtained; and (iii)
                   alternative methods of seeking the relief, such as the retention of counsel on a
                   contingency basis.


        Dated this           day of January, 2017.


                                                                / •
                                                          Tammy B. Georgelas, Receiver




4818-7131-1240 v
